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                                                                                  E-FILED
                                                       Monday, 22 August, 2005 11:41:47 AM
                                                              Clerk, U.S. District Court, ILCD
           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS
                   SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                 Plaintiff,                 )
                                            )
           v.                               )      No. 05-30025
                                            )
JESUS SANCHEZ,                              )
                                            )
                 Defendant.                 )

                                 OPINION

JEANNE E. SCOTT, U.S. District Judge:

     This matter came before the Court on August 19, 2005, for a hearing

on entry of Defendant Jesus Sanchez’s plea of guilty. Defendant Jesus

Sanchez appeared in person and by his attorney Robert Rascia.                  The

Government appeared by Assistant U.S. Attorney David Risley. At the

hearing, Defendant Jesus Sanchez: (1) pleaded guilty to the charge of

conspiracy to distribute over 5 kg of cocaine, in violation of 21 U.S.C. §

841(a)(1), as set forth in Count 1 of the Superseding Indictment (d/e 34);

and (2) admitted the allegations of forfeiture of property, pursuant to 21

U.S.C. § 853, as set forth in Count 4 of the Superseding Indictment. At the

hearing, the Court learned that Defendant Jesus Sanchez is suffering from

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medical problems that may require surgery. Jesus Sanchez is currently in

the custody of U.S. Marshal. The Court directs the U.S. Marshal to transfer

Defendant Jesus Sanchez to a medical facility operated by the United States

Federal Bureau of Prisons for evaluation and appropriate treatment of his

condition.

IT IS THEREFORE SO ORDERED.

ENTER: August 22, 2005.

        FOR THE COURT:

                                          s/ Jeanne E. Scott
                                         JEANNE E. SCOTT
                                   UNITED STATES DISTRICT JUDGE




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